                                                                                 Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 1 of 12 Page ID #:129


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                                                                                  6 VERRAGIO, LTD
                                                                                  7
                                                                                  8
                                                                                  9                      UNITED STATES DISTRICT COURT
                                                                                 10                    CENTRAL DISTRICT OF CALIFORNIA
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11
                                                                                 12
                                                                                 13 VERRAGIO, LTD
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                                                                                                                           )   Case No. 8:15-cv-0688 CJC (DFMx)
                                                                                                                           )
                                                                                 14               Plaintiff,               )
                                                                                                                           )   MEMORANDUM OF POINTS AND
                                                                                 15           v.                           )   AUTHORITIES IN SUPPORT OF
                                                                                                                           )   PLAINTIFF’S APPLICATION FOR
                                                                                 16 KIEU HANH JEWELRY,                     )   DEFAULT JUDGMENT BY COURT
                                                                                                                           )
                                                                                 17              Defendant.                )   DATE:      August 3, 2015
                                                                                                                           )   TIME:      1:30 p.m.
                                                                                 18                                        )   CTRM:      9B
                                                                                                                           )
                                                                                 19                                        )   Hon. Cormac J. Carney
                                                                                                                           )
                                                                                 20                                        )
                                                                                                                           )
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                                                                                  Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 2 of 12 Page ID #:130


                                                                                  1 I.         IN
                                                                                                NTRODU
                                                                                                     UCTION
                                                                                  2            For
                                                                                               F over 20
                                                                                                       0 years, Baarry Nisgurretsky (“N
                                                                                                                                      Nisguretskyy”), the ow
                                                                                                                                                           wner of Verrragio, Ltd
                                                                                                                                                                                d.
                                                                                  3 (“Verraagio”), hass been an innovatorr in the ddesign, creeation, andd marketinng of finee
                                                                                  4 jewelry. Nisgurettsky design
                                                                                                               ns his own
                                                                                                                        n jewelry annd has created excluusive collecctions from
                                                                                                                                                                              m
                                                                                  5 only top
                                                                                           p quality material. Among Nisguretsky
                                                                                                                     N         y’s jewelryy designs is Insignia-7003, an
                                                                                                                                                                       n
                                                                                  6 originall ring desig
                                                                                                       gn comprissing copyriightable suubject mattter under thhe laws off the United
                                                                                                                                                                                   d
                                                                                  7 States.        (Declaraation of Barry
                                                                                                                    B        guretsky ((“Nisguretssky Dec.””) ¶ 2 annd Ex. A).
                                                                                                                          Nisg
                                                                                  8 Additionally, Nisg
                                                                                                     guretsky has                                                 Register of
                                                                                                              h received a Certifiicate of Reegistration from the R
                                                                                  9 Copyrig
                                                                                          ghts for Inssignia-7003 (VAu 99
                                                                                                                        96-688). Idd.
                                                                                 100                     y has excclusively licensed hiis copyrigghted Insiggnia-7003 design to
                                                                                               Nisguretsky
                                                                                               N                                                                              o
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 111 Verragio.        (Nisg
                                                                                                          guretsky Dec.
                                                                                                                   D    ¶ 3)).      Since its creattion, Insiggnia-7003 has been
                                                                                                                                                                               n
                                                                                 122 manufactured by Verragio,
                                                                                                     V         or
                                                                                                               o under itss authorityy. Id.
                                                                                 133           This
                                                                                               T    Action
                                                                                                         n arises ou
                                                                                                                   ut of the advertiseme
                                                                                                                             a         ent, distribbution, andd sale by K
                                                                                                                                                                        Kieu Hanh
                                                                                                                                                                                h
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                                                                                 144 Jewelry
                                                                                           y (“Kieu Hanh”)
                                                                                                    H      off jewelry with
                                                                                                                       w    a dessign that is substanntially sim
                                                                                                                                                               milar to thee
                                                                                 155 copyrig
                                                                                           ghted Insign
                                                                                                      nia-7003 design.
                                                                                                               d                                          Hanh has tthe product
                                                                                                                       The infringinng ring soldd by Kieu H
                                                                                 166 code 11
                                                                                           17490-100 (“Infringiing Ring 117490-10
                                                                                                                        1                 was sold oon Januaryy 29, 2015.
                                                                                                                                00”), and w
                                                                                 177 (Nisgurretsky Dec.. ¶ 4 and Exs.
                                                                                                                 E C and D).
                                                                                 188 II.       VERRAGI
                                                                                               V     IO HAS SA
                                                                                                             ATISFIED
                                                                                                                    D THE PR
                                                                                                                           ROCEDU
                                                                                                                                URAL REQ
                                                                                                                                       QUIREME
                                                                                                                                             ENTS
                                                                                 199           FOR
                                                                                               F   DEFA
                                                                                                      AULT
                                                                                 200           Pursuant
                                                                                               P        to
                                                                                                         o Rule 55(b
                                                                                                                   b) of the Federal
                                                                                                                             F       Rulles of Civiil Procedurre, a courtt may enter
                                                                                 211 default judgment
                                                                                             j        following
                                                                                                      f         the entry of
                                                                                                                          o default bby the Clerrk of the Court. Pepssico, Inc. v.
                                                                                                                                                                                v
                                                                                                      ns, 238 F. Supp.
                                                                                 222 Cal. Seccurity Can          S     2d 1172, 1174 (C.D. Call. 2002). In the Centtral District
                                                                                 233 of Califfornia, app
                                                                                                       plications for
                                                                                                                  f default judgment
                                                                                                                            j        must set fo
                                                                                                                                              forth the foollowing innformation
                                                                                                                                                                              n:
                                                                                 244 (1) wheen and agaainst which
                                                                                                                h party thee default w
                                                                                                                                     was entereed; (2) the identificaation of thee
                                                                                 255 pleading
                                                                                            g to which
                                                                                                     h default was
                                                                                                               w entered; (3) wheether the ddefaulting party is ann infant or
                                                                                 266 incompetent perso
                                                                                                     on, and if so,
                                                                                                                s whetheer that persson is adeqquately reppresented; ((4) that thee
                                                                                 277 Soldierss’ and Saillors’ Civil Relief Act of 1940 ddoes not aapply; and (5) that nootice of thee
                                                                                 288

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                                                                                       1083801.2
                                                                                  Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 3 of 12 Page ID #:131


                                                                                  1 applicattion has been
                                                                                                     b    serveed on the defaultingg party, iff required..         Local R
                                                                                                                                                                         Rule 55-1;
                                                                                          o, 238 F. Su
                                                                                  2 Pepsico          upp. 2d at 1174.
                                                                                  3            Verragio
                                                                                               V        haas satisfied
                                                                                                                     d the proccedural reqquirements for entry of defaultt judgmen
                                                                                                                                                                                 nt
                                                                                  4 under Rule
                                                                                          R 55(a) of the Fed
                                                                                                           deral Rules of Civil P
                                                                                                                                Procedure aand Local Rule 55-1. Verragio
                                                                                                                                                                       o
                                                                                  5 filed itss Complain
                                                                                                      nt in this Action
                                                                                                                 A      on April
                                                                                                                           A     30, 22015. (Doocket Entryy No. 1). Kieu Hanh
                                                                                                                                                                            h
                                                                                  6 was serv         he Complaaint on Maay 5, 2015.. (Docket Entry No. 11). Kieuu Hanh hass
                                                                                           ved with th
                                                                                  7 failed to
                                                                                            o appear, respond
                                                                                                      r       to        plaint and Summonss, or file aany other ppleading or
                                                                                                               o the Comp
                                                                                  8 motion permitted by law. On June 3, 2015, deefault was entered byy the Clerrk of Courrt
                                                                                  9 against Kieu Hanh
                                                                                                    h (Docket Entry
                                                                                                              E     No. 17).
                                                                                 100           As
                                                                                               A a comp         ng jewelry in Westm
                                                                                                      pany sellin                 minster, Caalifornia, K
                                                                                                                                                        Kieu Hanhh is not an
                                                                                                                                                                           n
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                                                                                 111 infant or
                                                                                            o incompeetent person
                                                                                                                n, and is not
                                                                                                                          n in milittary servicce or otherw
                                                                                                                                                          wise exem
                                                                                                                                                                  mpted under
                                                                                 122 the Sold
                                                                                            diers’ and Sailors’ Civil
                                                                                                                C     Relieef Act of 11940. (Deeclaration of Howarrd A. Kroll
                                                                                 133 (“Kroll Dec.”) ¶ 2).
                                                                                                      2 Furtheermore, Veerragio is not requirred to servve its Appllication for
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                                                                                 144 Default Judgmen       urt (“Application”), its Noticce of Appplication, and other
                                                                                                   nt By Cou
                                                                                 155 supporting docum
                                                                                                    ments on Kieu Han                 Hanh has not appeaared.
                                                                                                                    nh, becausse Kieu H                                            Seee
                                                                                 166 Microso         v Evans, 2007 WL 3034661, at *2 (E.D. Cal. 20077) (a defauulting party
                                                                                           oft Corp. v.                                                                   y
                                                                                 177 is entitlled to written notice of the app
                                                                                                                             plication ffor default judgment unless thee party hass
                                                                                                      he action ciiting Fed. R. Civ. P. 55(b)(2)). Neverthelless, in an abundancee
                                                                                 188 not appeared in th
                                                                                 199 of cautiion, Verrag         t serve its Applicattion, its Nootice of A
                                                                                                       gio plans to                                       Application, and other
                                                                                 200 supporting docum                   b mail on July 1, 2015. (Kroll Dec. ¶ 3).
                                                                                                    ments on Kiieu Hanh by
                                                                                 211           Finally,
                                                                                               F        Veerragio’s Application
                                                                                                                    A         n complies with Rulee 54(c) of the Federaal Rules of
                                                                                                     i that it requests a remedy that is noot differennt in kind from thaat
                                                                                 222 Civil Procedure in
                                                                                 233 requesteed in the Complaint.
                                                                                                       C          Fed. R. Ciiv. P. 54(c)).
                                                                                 244 III.      DEFAULT
                                                                                               D     T JUDGM      OULD BE ENTERE
                                                                                                           MENT SHO            ED
                                                                                 255           When
                                                                                               W    the procedural
                                                                                                        p          requiremen
                                                                                                                            nts for a deefault judggment are ssatisfied, thhe decision
                                                                                                                                                                                     n
                                                                                 266 to grantt or to deny
                                                                                                        y a requestt for defaullt judgmennt lies withiin the Couurt’s sound discretion
                                                                                                                                                                                     n.
                                                                                 277 Draper v. Coombs, 792 F.2d
                                                                                                           F    915, 924-25 (99th Cir. 11986).                W
                                                                                                                                                              When exerrcising thiss
                                                                                 288 discretio
                                                                                             on, the folllowing “E
                                                                                                                 Eitel factors” guide thhe Court: (1) the meerits of thee plaintiff’ss
                                                                                                                                      2
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                                                                                  Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 4 of 12 Page ID #:132


                                                                                  1 substanttive claimss; (2) the sufficiency
                                                                                                                  s         y of the com
                                                                                                                                       mplaint; (33) the sum of money at stake in
                                                                                                                                                                                n
                                                                                            on; (4) thee possibilitty of prejudice to thee plaintiff; (5) the poossibility oof a disputee
                                                                                  2 the actio
                                                                                          ning materiial facts; (6) whetherr the defauult was due to excussable negleect; and (7)
                                                                                  3 concern
                                                                                           ong policy underlying
                                                                                  4 the stro                   g the Fedeeral Rules of Civil P
                                                                                                                                             Procedure favoring ddecision on
                                                                                                                                                                           n
                                                                                                              ool, 782 F.2d 1470, 1471-72 (9th Cir. 1986). D
                                                                                  5 the merrits. Eitell v. McCo                                            Despite thiss
                                                                                  6 discretio
                                                                                            onary stan
                                                                                                     ndard, “deffault judgm
                                                                                                                          ments are m
                                                                                                                                    more oftenn granted tthan denieed.” Philip
                                                                                                                                                                             p
                                                                                  7 Morris USA, Inc. v. Castw        ds., Inc., 219 F.R.D
                                                                                                            world Prod                  D. 494, 4998 (C.D. C
                                                                                                                                                           Cal. 2003)
                                                                                  8 (citation
                                                                                            n omitted)). As disccussed bellow, here the discreetionary faactors favoor entering
                                                                                                                                                                              g
                                                                                  9 default judgment
                                                                                            j        against
                                                                                                     a       Kieeu Hanh.
                                                                                 100           A.
                                                                                               A     Verrragio Has Establishe
                                                                                                                   E        ed The Meerits Of Its Claims A
                                                                                                                                                         And The
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                                                                                 111                 Suffiiciency Off The Com
                                                                                                                            mplaint
                                                                                 122           “Upon entry of defau
                                                                                                                  ult, the welll-pleaded allegationss of the coomplaint reelating to a
                                                                                 133 defendaant’s liabillity are tak
                                                                                                                   ken as true, with thhe exceptioon of the allegationss as to thee
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                                                                                                             Video Sys, Inc. v. Heeidenthal, 826 F.2d 9915, 917-118 (9th Cirr.
                                                                                 144 amount of damages.” TeleV
                                                                                 155 1987). Thereforee, the two Eitel
                                                                                                                E     factors regardinng the substantive cllaims and sufficiency
                                                                                                                                                                               y
                                                                                 166 of the evidence esssentially require
                                                                                                                  r       Verrragio’s Coomplaint too state a cllaim on whhich it may
                                                                                                                                                                                   y
                                                                                 177 recover. Broad. Music,
                                                                                                     M                   on, No. 1:114-CV-013394-JAM, 22015 WL 966184, at
                                                                                                            Incc. v. Pardo                                             a
                                                                                 188 *2 (E.D
                                                                                           D. Cal. Maar. 4, 2015
                                                                                                               5) (citing Danning
                                                                                                                          D       vv. Lavine, 572 F.2d 1386, 1388 (9th Cirr.
                                                                                                                                    Verragio’s Complainnt properlyy allege thee
                                                                                 199 1978)). The well-pled facttual allegaations of V
                                                                                 200 elementts of and su         bility for itss claims, as shown beelow.
                                                                                                       upport liab
                                                                                 211                 1.     Facts Peertaining to
                                                                                                                              t Kieu Haanh’s Infrringement of Verraggio’s
                                                                                 222           Licensed
                                                                                               L        Copyrighte
                                                                                                        C        ed Jewelry
                                                                                                                          y Design
                                                                                 233                        a)     Vaalidity of Verragio’s
                                                                                                                                V          Licensed C
                                                                                                                                                    Copyrighteed Jewelryy Design
                                                                                 244           Verragio’s
                                                                                               V          licensed copyright for the IInsignia-70003 designn is presuumed valid
                                                                                                                                                                              d
                                                                                                      gn became federally registeredd within 5 years of its initial ppublication
                                                                                 255 becausee the desig                                                                        n.
                                                                                 266 (Nisgurretsky Dec. ¶¶ 2-3; Complaint
                                                                                                                C         ¶¶ 7-11). See 17 U.S.C. § 4100(c) (“In aany judiciaal
                                                                                 277 proceed
                                                                                           dings the certificate
                                                                                                     c           of a registtration maade before or within five yearss after first
                                                                                 288 publicattion of th        hall constiitute primaa facie evvidence off the validdity of thee
                                                                                                      he work sh
                                                                                                                                      3
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                                                                                  Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 5 of 12 Page ID #:133


                                                                                  1 copyright and of the facts stated in the certificate.”); see also, Entertainment Research
                                                                                  2 Group, Inc. v. Genesis Creative Group, Inc., 122 F.3d 1211, 1217 (9th Cir. 1997)
                                                                                  3 (registered copyright bears “presumption of validity”).
                                                                                  4                        b)     Access
                                                                                  5           Copying protected elements of a copyrighted work are necessary to prove
                                                                                  6 infringement. Three Boys Music Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir. 2000).
                                                                                  7 Direct evidence of copying is rarely available; therefore, infringement is typically proven
                                                                                  8 by showing that the defendant had access to the copyrighted work and that the
                                                                                  9 defendant’s and plaintiff’s works are substantially similar. Id.
                                                                                 10           The Ninth Circuit has defined “access” as a reasonable opportunity to view or copy
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                                                                                 11 the plaintiff’s work, which may be proved either directly or circumstantially. Id. at 482.
                                                                                 12 Kieu Hanh cannot seriously dispute that it had access to Verragio’s licensed
                                                                                 13 Insignia-7003 design because Kieu Hanh operates a jewelry business in direct
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                                                                                 14 competition with retailers that purchase jewelry from Verragio, and actively solicits and
                                                                                 15 seeks as customers, the same customers as those retailers that purchase jewelry from
                                                                                 16 Verragio. (Nisguretsky Dec. ¶ 5; Complaint ¶¶ 12-14, 21). Additionally, Kieu Hanh was
                                                                                 17 at one time an authorized Verragio retailer. Therefore, Kieu Hanh was aware of Verragio
                                                                                 18 and its licensed copyrighted jewelry designs. (Nisguretsky Dec. ¶ 6).
                                                                                 19                        c)     Substantial Similarity
                                                                                 20           To determine whether two works are substantially similar, a two-part analysis is
                                                                                 21 used. Id at 485. This two-part analysis is made up of an “extrinsic test” and an “intrinsic
                                                                                 22 test.” Id. “Initially, the extrinsic test requires that the plaintiff identify concrete elements
                                                                                 23 based on objective criteria.” Id. In applying the extrinsic test, only the protectable
                                                                                 24 elements, standing along, should be evaluated. Cavalier v. Random House, Inc., 297
                                                                                 25 F.3d 815, 822-823 (9th Cir. 2002). It is necessary to filter out and disregard non-
                                                                                 26 protectable elements. Id.
                                                                                 27           Once the extrinsic test is satisfied, the finder of fact then applies the intrinsic test.
                                                                                 28 Bolton, 212 F.3d at 485. The intrinsic test is subjective and asks only “whether the
                                                                                                                                      4
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                                                                                  1 ordinary
                                                                                           y, reasonab
                                                                                                     ble person
                                                                                                              n would find the tottal conceptt and feelss of the w
                                                                                                                                                                 works to bee
                                                                                  2 substanttially simillar.” Id. (Internal
                                                                                                                  (         qu
                                                                                                                             uotation m
                                                                                                                                      marks and ccitations om
                                                                                                                                                            mitted). Thhe intrinsicc
                                                                                  3 test doees not depeend on the type
                                                                                                                  t    of extternal criteeria and annalysis whiich mark thhe extrinsicc
                                                                                  4 test; it is
                                                                                             i instead a subjectiv
                                                                                                                 ve test. Kouf
                                                                                                                          K                    Pictures & Televisioon, 16 F.3d
                                                                                                                               v. Wallt Disney P                             d
                                                                                  5 1042, 1045 (9th Cir.
                                                                                                    C 1994).
                                                                                  6            A direct comparison
                                                                                                        c        n of Verrragio’s licensed Innsignia-70003 designn with thee
                                                                                  7 Infringiing Ring 117490-10
                                                                                                     1        0 reveals the close similarity between the rings that would
                                                                                                                                                                        d
                                                                                  8 satisfy the
                                                                                            t extrinsiic and intriinsic tests:
                                                                                  9
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                                                                                 211
                                                                                                       In
                                                                                                        nsignia-700
                                                                                                                  03                         Infringiing Ring 117490-10001
                                                                                 222
                                                                                 233 (Nisgurretsky Dec.. ¶ 4 and Exs.
                                                                                                                 E A, B, and
                                                                                                                         a C; Com
                                                                                                                                mplaint ¶¶ 15-17, 19--22).
                                                                                 244
                                                                                 255
                                                                                       1 The
                                                                                           In
                                                                                            nfringing Ring
                                                                                                      R      11749  90-100 is virtually
                                                                                                                              v         ideentical to tthis photoggraph, but w
                                                                                                                                                                             without
                                                                                 266
                                                                                     the centter diamon
                                                                                                      nd. (Kroll Dec.
                                                                                                                    D ¶ 4; Nisguretsky
                                                                                                                             N            y Dec. ¶ 4). Counsel ffor Verraggio will
                                                                                 277 bring booth an exem
                                                                                                       mplar of In  nsignia-70003 and the Infringingg Ring 1177490-100 too the
                                                                                 288 hearing for the Coourt, if it so
                                                                                                                    o decides, to
                                                                                                                               t comparee.
                                                                                                                                      5
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                                                                                  Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 7 of 12 Page ID #:135


                                                                                  1            B.
                                                                                               B     The Sum
                                                                                                         S   of Money
                                                                                                                M     At Stake
                                                                                                                         S     In Th
                                                                                                                                   he Action
                                                                                  2            When
                                                                                               W    evalu
                                                                                                        uating the sum of mo
                                                                                                                           oney at stakke in the aaction, “thee court muust consider
                                                                                          ount of money at sttake in rellation to thhe seriousnness of D
                                                                                  3 the amo                                                            Defendant’ss conduct.””
                                                                                  4 Philip Morris
                                                                                           M       SA, Inc., 21
                                                                                                  US          19 F.R.D. at 500 (ciitation omiitted). Hoowever, evven when a
                                                                                  5 large am
                                                                                           mount is at
                                                                                                    a stake, th
                                                                                                              his factor does not w
                                                                                                                                  weigh agaainst enteriing defaultt judgmen
                                                                                                                                                                          nt
                                                                                  6 becausee the Courrt may, in
                                                                                                              n its discreetion, limiit the dam
                                                                                                                                              mages awaard. IO Grrp., Inc. v.
                                                                                                                                                                           v
                                                                                  7 Jordon,, 708 F. Su
                                                                                                     upp. 2d 989
                                                                                                               9, 999 (N.D
                                                                                                                         D. Cal. 20110).
                                                                                  8            C.
                                                                                               C     The Possibility
                                                                                                         P         y Of Preju
                                                                                                                            udice To V
                                                                                                                                     Verragio
                                                                                  9            In
                                                                                                n this casee, Verragio
                                                                                                                     o would su
                                                                                                                              uffer prejuddice if defaault judgm
                                                                                                                                                               ment were nnot entered
                                                                                                                                                                                    d
                                                                                 100 becausee it would have no recourse against
                                                                                                                        a       Kiieu Hanh. Philip Moorris USA,, Inc., 219
                                                                                                                                                                         9
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 111 F.R.D. at
                                                                                            a 499; Pep
                                                                                                     psico, 238 F. Supp. 2d
                                                                                                                         2 at 1177..
                                                                                 122           D.
                                                                                               D                   y Of A Disspute Conccerning M
                                                                                                     The Possibility
                                                                                                         P                                     Material Faacts
                                                                                 133           Because
                                                                                               B       th
                                                                                                        he allegatio
                                                                                                                   ons of the Complainnt concernning liabiliity are takken as truee
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                                                                                 144 upon en
                                                                                           ntry of deefault, therre is no possibility
                                                                                                                          p           of a disppute concerning matterial factss.
                                                                                 155 Vallavissta Corp. v.       adley Desiigns, Inc., No. C 10--00120 JW
                                                                                                       v Vera Bra                                               L 7462065,
                                                                                                                                                       W, 2011 WL
                                                                                 166 at *2 (N
                                                                                            N.D. Cal. Apr. 20, 2011).
                                                                                                               2      Acccordinglyy, this factoor also favvors grantiing default
                                                                                 177 judgmen
                                                                                           nt for Verrragio. Id.
                                                                                 188           E.
                                                                                               E     Whether the Default
                                                                                                                 D       Wa
                                                                                                                          as Due Too Excusablle Neglect
                                                                                 199           There
                                                                                               T     is no
                                                                                                        n indicatiion that Kieu
                                                                                                                           K    Hanhh’s failure to appeaar was thee result of
                                                                                 200 excusab                   gh Kieu Haanh was prroperly serrved, it hass made no attempt to
                                                                                           ble neglectt. Althoug                                                             o
                                                                                 211 respond
                                                                                           d to Verraagio’s alleegations, nor
                                                                                                                          n has K
                                                                                                                                Kieu Hanhh even coontacted V
                                                                                                                                                           Verragio or
                                                                                 222 Verragio’s counseel. (Kroll Dec. ¶ 5; Nisgurettsky Dec. ¶ 7). Abssent any eevidence of
                                                                                 233 excusab
                                                                                           ble neglectt, this facttor weighss in favor of grantinng a defauult judgmeent. Broad
                                                                                                                                                                              d
                                                                                 244 Music, Inc.,
                                                                                            I     No. 1:14-CV-01
                                                                                                               1394-JAM
                                                                                                                      M, 2015 WL
                                                                                                                               L 966184, at *3 (E.D
                                                                                                                                                  D. Cal. Marr. 4, 2015).
                                                                                 255           F.
                                                                                               F     The Strong
                                                                                                         S      Po
                                                                                                                 olicy Undeerlying thee Federal R
                                                                                                                                                Rules of C
                                                                                                                                                         Civil Proceedure
                                                                                 266                 Favo
                                                                                                        oring Decisions On The
                                                                                                                           T Meritts
                                                                                 277           Although,
                                                                                               A         “[c]ases should
                                                                                                                  s      be decided uupon theirr merits w
                                                                                                                                                        whenever reasonably
                                                                                                                                                                          y
                                                                                 288 possiblee . . . the mere
                                                                                                         m    existtence of Fed. R. Civv. P. 55(b)) indicates that this ppreferencee,
                                                                                                                                      6
                                                                                       1083801.2
                                                                                  Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 8 of 12 Page ID #:136


                                                                                  1 standing
                                                                                           g alone, is not dispossitive.” Peepsico, 238 F. Supp.. 2d at 11777 (internaal quotation
                                                                                                                                                                                 n
                                                                                  2 marks and
                                                                                          a citations omitted
                                                                                                            d). Moreo
                                                                                                                    over, Kieu Hanh’s faailure to annswer the Complain
                                                                                                                                                                     nt
                                                                                  3 makes a decision on the meerits impraactical, if nnot imposssible. Phillip Morris USA, Inc.,
                                                                                  4 219 F.R
                                                                                          R.D. at 501
                                                                                                    1 (citing Peepsico, 238 F. Supp.. 2d at 11777). Thereefore, this ffactor doess
                                                                                  5 not precclude the Court from
                                                                                                               m granting
                                                                                                                        g default juudgment. Philip M        A, Inc., 219
                                                                                                                                                    Morris USA          9
                                                                                  6 F.R.D. at
                                                                                           a 501.
                                                                                  7 IV.        VERRAGI
                                                                                               V     IO IS ENT
                                                                                                             TITLED TO
                                                                                                                    T STATU
                                                                                                                          UTORY D
                                                                                                                                DAMAGE
                                                                                                                                     ES FOR K
                                                                                                                                            KIEU
                                                                                  8            HANH’S
                                                                                               H      WILLFUL
                                                                                                      W     L COPYRIIGHT INF
                                                                                                                           FRINGEM
                                                                                                                                 MENT
                                                                                  9            A victoriou
                                                                                                         us copyrigh
                                                                                                                   ht plaintiff
                                                                                                                             ff may elecct to seek statutory damages, which can
                                                                                                                                                                              n
                                                                                 100 range from
                                                                                           f       0 to $30,000, but can be increased up to $$150,000 ffor willfu
                                                                                                $750                                                            ul
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                                                                                 111 infringeement. 17 U.S.C. § 504(c).
                                                                                                                5       In setting the amount of statutorry damagess, the courrt
                                                                                 122 has wid
                                                                                           de discretion within
                                                                                                              n the statu
                                                                                                                        utory limiits, and m
                                                                                                                                           may awardd damagess for both
                                                                                                                                                                      h
                                                                                 133 compen
                                                                                          nsatory an
                                                                                                   nd punitivee purposees.             See L
                                                                                                                                           Los Angeeles News Service v. Reuterss
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                                                                                 144 Televisiion Interna          d., 149 F.3
                                                                                                       ational, Ltd         3d 987, 996 (9th Cirr. 1998)(coollecting caases on thee
                                                                                 155 standard
                                                                                            ds for settting statuttory damag
                                                                                                                           ges). As the Supreeme Court has obserrved, “[t]hee
                                                                                 166 statutoryy rule, form
                                                                                                         mulated after long exp
                                                                                                                              perience, nnot merely compels reestitution of profit and
                                                                                                                                                                                     d
                                                                                 177 reparatioon for injurry but also is designed to discouurage wronngful conduuct.” F.W. Woolworth
                                                                                                                                                                                   h
                                                                                 188 Co. v. Contempora
                                                                                            C                   nc., 344 U.S
                                                                                                     ary Arts, In          S. 228 (19552).
                                                                                 199           Additionally
                                                                                               A          y, while neeither the Copyright
                                                                                                                                C         Act nor itts legislativve history specifically
                                                                                                                                                                                       y
                                                                                 200 defines “willful innfringemennt,” the Niinth Circuiit has defi
                                                                                                                                                 fined it as “knowledgge that thee
                                                                                 211 defendaants’ conduuct constitutted an act of
                                                                                                                               o infringem
                                                                                                                                         ment.” Peeer Int’l Coorp. v. Paussa Recordss,
                                                                                 222 Inc., 9099 F.2d 1332, 1335-13336 & n.3 (9th
                                                                                                                            (    Cir. 19990). Thiss knowledgge, and therreby willfu
                                                                                                                                                                                  ul
                                                                                 233 infringeement, mayy be provenn by showinng (1) defeendant was actually aw
                                                                                                                                                             ware of thee infringing
                                                                                                                                                                                   g
                                                                                 244 activity,, or (2) deffendant’s acctions weree either a reeckless disrregard” or “willful bllindness” of
                                                                                 255 the copyright holdder’s rightts. Island Computerr and Softw
                                                                                                                                               ware Serviice, Inc. v. Microsofft
                                                                                 266 Corp., 413
                                                                                            4 F.3d 25
                                                                                                    57, 263 (2n
                                                                                                              nd Cir. 200
                                                                                                                        05); In re A
                                                                                                                                   Aimster Coppyright Litiigation, 334 F.3d 643,
                                                                                 277 650 (7thh Cir. 2003) (“[w]illfuul blindnesss is knowleedge, in coppyright law
                                                                                                                                                                 w”).
                                                                                 288
                                                                                                                                        7
                                                                                       1083801.2
                                                                                  Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 9 of 12 Page ID #:137


                                                                                  1            However,
                                                                                               H        “statutory damages
                                                                                                                   d       arre appropriiate in defaault judgment cases bbecause thee
                                                                                  2 informaation needeed to provee actual daamages is within thee infringerrs’ control and is not
                                                                                  3 discloseed.” Microosoft Corp. v. Nop, 5449 F. Suppp. 2d 1233,, 1238 (E.D
                                                                                                                                                           D. Cal. 20008)(internaal
                                                                                  4 citationss and quotaations omitted). Furtther, “[c]oppyright inffringement is deemedd willful by
                                                                                                                                                                                   y
                                                                                  5 virtue off a defendaant’s defaullt.” Rovio Entm't,
                                                                                                                               E       Ltdd. v. Allstarr Vending, IInc., No. 14-CV-7346
                                                                                                                                                                                      6
                                                                                  6 KBF, 20015 WL 15508497, at *5 (S.D.N..Y. Apr. 1, 2015). Siimply put, “infringerss should not
                                                                                  7 be free to ‘sneer’ in the facce of the Copyright
                                                                                                                           C         A
                                                                                                                                     Act.” Emii Mills Muusic v. Exppress Hotell,
                                                                                  8 470 F. Supp.
                                                                                           S     2d. 67, 75 (D.P
                                                                                                               P.R. 2006)) (citing Innternationaal Korwin Crop. v. K
                                                                                                                                                                   Kowalczykk,
                                                                                  9 665 F. Supp.
                                                                                           S     652, 659 (N.D. Ill. 1987), aff'd 855 F
                                                                                                                                      F.2d 375 (7tth Cir. 1988)).
                                                                                 100           Kieu
                                                                                               K    Hanh has willfu
                                                                                                                  ully infring
                                                                                                                             ged Verraggio’s licenssed Insignia-7003 beccause Kieu
                                                                                                                                                                                 u
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                                                                                 111 Hanh was                        d Verragioo retailer and thus is actuallyy aware of
                                                                                          w at onee time an authorized
                                                                                 122 Verragio and itss licensed copyrigh
                                                                                                                       hted jewellry designns.            (Nisgguretsky D
                                                                                                                                                                        Dec. ¶ 6)).
                                                                                 133 Additionally, Kieu
                                                                                                      u Hanh op
                                                                                                              perates a jeewelry bussiness in ddirect comppetition wiith retailerss
TUCKER ELLIS LLP




                                                                                 144 that purrchase jew
                                                                                                      welry from Verragio,, and activvely solicitts and seeeks as custtomers, thee
                                                                                 155 same cu
                                                                                           ustomers as
                                                                                                    a those reetailers thaat purchasse jewelry from Verrragio. (N
                                                                                                                                                                Nisguretsky
                                                                                                                                                                          y
                                                                                 166 Dec. ¶ 5). Whattever otherr evidence of Kieu H
                                                                                                                                  Hanh’s wiillfulness eexists is w
                                                                                                                                                                 within Kieu
                                                                                                                                                                           u
                                                                                 177 Hanh’s exclusive control, an
                                                                                                                nd Verragiio has had no opporttunity to innspect it. ((Kroll Decc.
                                                                                 188 ¶ 5; Nissguretsky Dec. ¶ 7). Accordin
                                                                                                                         ngly, statuutory damaages are apppropriate, and Kieu
                                                                                                                                                                            u
                                                                                 199 Hanh’s infringement should
                                                                                                              d be deemed willful.
                                                                                 200           In
                                                                                                n light of this
                                                                                                           t willfu
                                                                                                                  ul infringem
                                                                                                                             ment, Verrragio requeests that thhe Court aw
                                                                                                                                                                        ward it thee
                                                                                 211 maximu
                                                                                          um of $150
                                                                                                   0,000 in sttatutory daamages forr Kieu Hannh’s infringgement of Verragio’ss
                                                                                 222 Insigniaa-7003.
                                                                                 233 V.        VERRAGI
                                                                                               V     IO IS ENT
                                                                                                             TITLED TO
                                                                                                                    T ITS AT
                                                                                                                           TTORNEYS’ FEES
                                                                                                                                        S
                                                                                 244           As
                                                                                               A a prevaailing partty, Verrag
                                                                                                                            gio may bbe awardeed costs, iincluding reasonablee
                                                                                 255 attorney
                                                                                            ys’ fees, att the court’’s discretio
                                                                                                                               on. 17 U.S
                                                                                                                                        S.C. § 505.. Attorneyys’ fees aw
                                                                                                                                                                       wards under
                                                                                 266 the Cop                 he rule ratther than the excepption and should be awarded
                                                                                           pyright Act “are th                                                       d
                                                                                 277 routinelly.” Posittive Black Talk, Inc. v. Cash M
                                                                                                                                     Money Reecords, Incc., 394 F.3d 357, 380
                                                                                                                                                                            0
                                                                                 288 (5th Cirr. 2004). A districtt court maay consideer (but is not limiteed to) fivee factors in
                                                                                                                                                                                n
                                                                                                                                      8
                                                                                       1083801.2
                                                                                       Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 10 of 12 Page ID
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                                                                                  1 determining wheth
                                                                                                    her to awaard attorney
                                                                                                                         ys’ fees unnder the Coopyright A
                                                                                                                                                        Act. Wall D
                                                                                                                                                                  Data Inc. v.
                                                                                                                                                                            v
                                                                                  2 Los Ang        nty Sherrifff’s Dept., 447 F.3d 769, 787 ((9th Cir. 22006). Thhese factorss
                                                                                          geles Coun
                                                                                          1) the deegree of success obtained,
                                                                                  3 are “(1                         o         (2) frivollousness, (3) motivvation, (4)
                                                                                  4 reasonaableness off losing parrty’s legal and factuaal argumennts, and (5)) the need to advancee
                                                                                  5 consideerations off compenssation and
                                                                                                                        d deterrencce.”              Seee Id. At 7776, 787 (affirming
                                                                                                                                                                                    g
                                                                                  6 $516,27
                                                                                          71 attorney
                                                                                                    ys’ fees aw
                                                                                                              ward in ligh
                                                                                                                         ht of these ffactors).
                                                                                  7             Here,
                                                                                                H     all five of thesse factors favor
                                                                                                                                 f     an aaward to V
                                                                                                                                                    Verragio. Due to Kiieu Hanh’ss
                                                                                  8 default, Verragio is the vicctor in thiss suit. Veerragio has diligentlly pursuedd its claimss
                                                                                  9 against Kieu Hanh
                                                                                                    h for the du
                                                                                                               uration of this Actionn, and wass at all timees preparedd to defend
                                                                                                                                                                                 d
                                                                                 100 its motiivation for filing suitt. Addition
                                                                                                                              nally, Kieuu Hanh hass willfully infringed Verragio’ss
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                                                                                 111 licensed
                                                                                            d Insignia--7003 desiign, and has
                                                                                                                          h made nno responsse at all too this Acttion. Kieu
                                                                                                                                                                           u
                                                                                 122 Hanh’s willfulnesss and lack of respo
                                                                                                                         onse also serve to ffavor Verrragio on thhe need to
                                                                                                                                                                           o
                                                                                 133 advancee consideraations of co
                                                                                                                  ompensatio
                                                                                                                           on and deterrence.
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                                                                                 144            A.
                                                                                                A      Verrragio is En
                                                                                                                     ntitled to Fees
                                                                                                                                F    in Exccess to thee Schedulee Set Forth
                                                                                                                                                                          h in Locall
                                                                                 155                   Rule 55-3
                                                                                 166            Verragio
                                                                                                V        reequests thaat attorneyss’ fees in eexcess of tthe schedulle presenteed in Locaal
                                                                                 177 Rule 55
                                                                                           5-3 be awaarded due to
                                                                                                               t the factt that Kieuu Hanh hass willfully infringed Verragio’ss
                                                                                 188 licensed
                                                                                            d Insignia-7003 desig        gio has inccurred andd requests $$12,845 inn attorneys’
                                                                                                                gn. Verrag
                                                                                 199 fees and
                                                                                            d $400 in costs.
                                                                                                      c      (Kro
                                                                                                                oll Dec. ¶¶ 6 – 14).
                                                                                 200 VI.        VERRAGI
                                                                                                V     IO IS ENT
                                                                                                              TITLED TO
                                                                                                                     T AN IN
                                                                                                                           NJUNCTIO
                                                                                                                                  ON
                                                                                 211            Verragio
                                                                                                V        is entitled to
                                                                                                                      o an injuncction to prevent furthher infringgement of iits licensed
                                                                                                                                                                                        d
                                                                                 222 Insigniaa-7003 design. The Copyright
                                                                                                                C         Act
                                                                                                                          A providdes for the entry of innjunctive reelief:
                                                                                 233                   Any court hav         diction of a civil acction arisinng
                                                                                                                   ving jurisd
                                                                                 244                   underr this titlle may … grant temporaryy and finnal
                                                                                 255                   injun                  ms as it maay deem reeasonable to
                                                                                                           nctions on such term
                                                                                 266                   preveent or restrrain infring
                                                                                                                                   gement of a copyrighht.
                                                                                 277 17 U.S.C. § 502(aa).
                                                                                 288
                                                                                                                                         9
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                                                                                       Case 8:15-cv-00688-CJC-DFM Document 21-1 Filed 07/01/15 Page 11 of 12 Page ID
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                                                                                  1             Verragio
                                                                                                V        th
                                                                                                          herefore requests thatt the Courrt issue a ppermanent injunctionn enjoining
                                                                                                                                                                                    g
                                                                                  2 and resttraining Kiieu Hanh and
                                                                                                                a its resp
                                                                                                                         pective ageents, servaants, emplooyees, succcessors and
                                                                                                                                                                               d
                                                                                  3 assigns,, and all other
                                                                                                      o     perso
                                                                                                                ons acting in concertt with or iin conspiraacy with oor affiliated
                                                                                                                                                                                 d
                                                                                  4 with Kiieu Hanh, from copy
                                                                                                             ying, repro
                                                                                                                       oducing, m
                                                                                                                                manufacturiing, dupliccating, dissseminating
                                                                                                                                                                           g,
                                                                                  5 distribu
                                                                                           uting, or using infrin
                                                                                                                nging copiies of Verrragio’s Innsignia-70003. Verraggio further
                                                                                  6 seeks an
                                                                                          a Order that
                                                                                                  t    all in
                                                                                                            nfringing copies
                                                                                                                      c      of jewelry, aand all molds by w
                                                                                                                                                           which such
                                                                                                                                                                    h
                                                                                  7 infringin
                                                                                            ng jewelry         uced, be seeized, impoounded andd destroyeed.
                                                                                                     y was produ
                                                                                  8 VII. CONCLUS
                                                                                         C     SION
                                                                                  9             Given
                                                                                                G     Kieu
                                                                                                         u Hanh’s willful
                                                                                                                  w       inffringementt and defauult, Verraggio requessts that thee
                                                                                 100 Court en
                                                                                            nter defaullt judgmen
                                                                                                                nt against Kieu
                                                                                                                           K Hanh as indicateed above.
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                                                                                 111
                                                                                         D: July 1, 2015
                                                                                 122 DATED          2                                 Resppectfully suubmitted,
                                                                                 133
TUCKER ELLIS LLP




                                                                                                                                      Tuckker Ellis L
                                                                                                                                                    LLP
                                                                                 144
                                                                                 155
                                                                                                                                      By:   /s/Howaard A. Krolll
                                                                                 166                                                        Howardd A Kroll
                                                                                 177                                                        howard..kroll@tuckerellis.coom
                                                                                                                                            Attorneyys for Plainntiff
                                                                                 188                                                        VERRA AGIO, LTD   D

                                                                                 199
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                                                                                                                        #:140

                                                                                 1                                   CERTIFICATE OF SERVICE
                                                                                 2
                                                                                               I certify that on July 1, 2015, a true and correct copy of the foregoing was filed
                                                                                 3
                                                                                       with the Court and served electronically.          The Notice of Electronic Case Filing
                                                                                 4
                                                                                       automatically generated by the system and sent to all parties entitled to service under the
                                                                                 5
                                                                                       Federal Rules of Civil Procedure and the Local Rules of the Central District of California
                                                                                 6
                                                                                       who have consented to electronic service shall constitute service of the filed document to
                                                                                 7
                                                                                       all such parties.
                                                                                 8
                                                                                               I further certify that the following party was served by U.S. Mail:
                                                                                 9
                                                                                 10                                       Kieu Hanh Jewelry
                                                                                                                      9131 Bolsa Avenue, Suite 203
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11
                                                                                                                        Westminster, CA 92683
                                                                                 12
                                                                                 13
TUCKER ELLIS LLP




                                                                                               I declare that I am employed by a member of the bar of this Court, at whose
                                                                                 14
                                                                                       direction this service was made.
                                                                                 15
                                                                                               Executed on July 1, 2015 at Los Angeles, California.
                                                                                 16
                                                                                 17
                                                                                 18
                                                                                                                                             /s/Susan Lovelace
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